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  IT IS ORDERED as set forth below:



  Date: November 28, 2018
                                                _________________________________

                                                         Jeffery W. Cavender
                                                    U.S. Bankruptcy Court Judge

 ________________________________________________________________



            IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

IN RE:                                 )       CHAPTER 7
                                       )
CHARLES D. MENSER, JR.                 )       Case No. 18-65681-jwc
                                       )
                                       )
                                       )
            Debtor.                    )
                                       )

           ORDER GRANTING EXAMINATION OF PHYLLIS
           MENSER PURSUANT TO BANKRUPTCY RULE 2004

      This matter having come before the Court on the Motion for 2004

Examination of Phyllis Menser (the “Motion”) [Doc. No. 23] filed by BC35, LLC

(“BC35”), a creditor in the above-styled case; the Court having read and considered

the Motion; and for good cause shown; it is hereby



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      ORDERED that such Motion is granted to permit, pursuant to Fed. R. Bankr.

P. 2004(b), the examination of Phyllis Menser at a mutually agreed time and place.

If the parties cannot agree on a mutual time, place, and scope for the production of

documents and examination authorized by this Order, such production and

examination may be compelled pursuant to Fed. R. Bankr. P. 2004(c) and 9016,

subject to the protections afforded to a party subject to a subpoena under Fed. R.

Civ. P. 45(d).

                             END OF DOCUMENT




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DRAFT ORDER PREPARED AND PRESENTED BY:

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